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7    Attorneys for Defendants
8
                                   UNITED STATES DISTRICT COURT
9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                         OAKLAND DIVISION
11
12    NAACP OF SAN JOSE/SILICON                       Case Number: 21-cv-01705-PJH
      VALLEY, et al.
13
                                                      STIPULATED REQUEST TO
                           Plaintiffs,                ENLARGE DEFENDANTS’ TIME TO
14
                                                      FILE AN ANSWER AND [PROPOSED]
15                    v.                              ORDER

16    CITY OF SAN JOSE, et al.
17                         Defendants.
18
19
20          Pursuant to Local Rule 6-2, Plaintiffs NAACP of San Jose/Silicon Valley, San Jose

21   Peace and Justice Center, M. Michael Acosta, Joseph Canas, Leslie Vasquez, Peter Allen,

22   Shaunn Cartwright, Yessica Riles, Jose Gustavo Flores Rodriguez, Alex Lee, Joseph

23   Maldonado, Cindy Cuellar, Mahmoudreza Naemeh, and Megan Swift (“Plaintiffs”), and

24   Defendants City of San Jose, Sam Liccardo, Edgardo Garcia, David Sykes, Jason Dwyer,

25   Ronnie Lopez, Lee Tassio, Jared Yuen, Sean Michael Curry, and Fnu Delgado

26   (“Defendants”), by and through their undersigned counsel, submit the following stipulation and

27   joint request.

28

                                              1
     STIPULATED REQUEST TO ENLARGE DEFENDANTS’ TIME TO FILE AN                     21-cv-01705-PJH
     ANSWER AND [PROPOSED] ORDER
                                                                                           1880515
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1          1. Plaintiffs filed a complaint (Dkt. 1) against Defendants on March 11, 2021. Pursuant

2             to the Stipulation and Order to Enlarge Time for Briefing re Defendants’ Motion to

3             Dismiss (ECF No. 25), Defendants filed their Motion to Dismiss on June 7, 2021

4             (ECF No. 27). This Court granted in part and denied in part Defendants’ Motion to

5             Dismiss in an Order issued on September 24, 2021. ECF No. 45.

6          2. Under Federal Rule of Civil Procedure 12(a)(1)(A)(i), Defendants’ time to file an

7             Answer was October 15, 2021, twenty-one (21) days after entry of the Court’s

8             Order on Defendants’ Motion to Dismiss. Defendants have not filed an Answer,

9             although parties have already engaged in written discovery and document

10            production.

11         3. Pursuant to Local Rule 6-2(a), attached as Exhibit A is the requisite Declaration of

12            Yue-Han Chow which (1) sets forth with particularity the reasons for the requested

13            enlargement, (2) discloses all previous time modifications in the case (of which

14            there was only one – ECF No. 25), and (3) describes the effect the requested

15            enlargement of time would have on the case schedule (which would be none).

16         4. The parties stipulate to request that Defendants’ time to file an answer be enlarged

17            so that Defendants’ Answer may be filed within one (1) business day following entry

18            of an Order by this Court granting the parties’ request.

19
20         IT IS SO STIPULATED.

21
                                                    Respectfully submitted,
22   Dated: December 10, 2021
23                                                  NORA FRIMANN, City Attorney

24
                                                    By: ____/s/ Yue-Han Chow__
25                                                         YUE-HAN CHOW
                                                           Sr. Deputy City Attorney
26
                                                    Attorneys for Defendants
27
28

                                              2
     STIPULATED REQUEST TO ENLARGE DEFENDANTS’ TIME TO FILE AN                      21-cv-01705-PJH
     ANSWER AND [PROPOSED] ORDER
                                                                                           1880515
           Case 4:21-cv-01705-PJH Document 52 Filed 12/10/21 Page 3 of 6




                                                         RACHEL LEDERMAN & ALEXIS C.
1
                                                         BEACH, Attorneys
2    Dated: December 10, 2021
3
                                                         By: __/s/ Rachel Lederman_________
4                                                                RACHEL LEDERMAN

5                                                        Attorneys for Plaintiffs

6
7           I attest that counsel for Plaintiffs has read and approved this document and given
8    consent to the filing of the same with the Court.
9
                                                    NORA FRIMANN, City Attorney
10   Dated: December 10, 2021
11                                                  By: ____/s/ Yue-Han Chow__
                                                           YUE-HAN CHOW
12                                                         Sr. Deputy City Attorney
13                                                  Attorneys for Defendants
14
15
16
17                                       [PROPOSED] ORDER

18          Pursuant to the parties’ Stipulation, the Request to Enlarge Defendants’ Time to File an

19   Answer is GRANTED, and Defendants are ordered to file their Answer within one (1)

20   business day following the entry of this Order.

21
22   Dated: December ___, 2021                           ____________________________________
                                                         UNITED STATES DISTRICT JUDGE
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                                              3
     STIPULATED REQUEST TO ENLARGE DEFENDANTS’ TIME TO FILE AN                        21-cv-01705-PJH
     ANSWER AND [PROPOSED] ORDER
                                                                                             1880515
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           EXHIBIT A
           Case 4:21-cv-01705-PJH Document 52 Filed 12/10/21 Page 5 of 6




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                              NORTHERN DISTRICT OF CALIFORNIA
10
                                         OAKLAND DIVISION
11
12    NAACP OF SAN JOSE/SILICON                         Case Number: 21-cv-01705-PJH
      VALLEY, et al.
13
                           Plaintiffs,                  DECLARATION OF YUE-HAN CHOW
14
                                                        IN SUPPORT OF STIPULATED
15                  v.                                  REQUEST TO ENLARGE
                                                        DEFENDANTS’ TIME TO FILE
16    CITY OF SAN JOSE, et al.                          ANSWER AND [PROPOSED] ORDER

17
18                         Defendants.
19
20
21          I, Yue-Han Chow, declare:

22          1.     I am an attorney licensed to practice in the State of California and represent the

23   Defendants in the above matter.

24          2.     This declaration is based on my personal knowledge, and if called as a witness

25   could so testify.

26          3.     On June 7, 2021, Defendants filed a Motion to Dismiss the Complaint. ECF

27   No. 27. On September 24, 2021, the Court issued its Order, granting in part and denying in

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                                               1
      DECL. OF YUE-HAN CHOW IN SUPPORT OF STIPULATED                                  21-cv-01705-PJH
      REQUEST TO ENLARGE DEFENDANTS’ TIME TO FILE AN                                         1880514
      ANSWER AND [PROPOSED] ORDER
           Case 4:21-cv-01705-PJH Document 52 Filed 12/10/21 Page 6 of 6




1    part Defendants’ Motion to Dismiss. ECF No. 45. Under Federal Rule of Civil Procedure

2    12(a)(1)(A)(i), Defendants time to file an Answer was October 15, 2021, twenty-one (21) days

3    after entry of the Court’s Order on Defendants’ Motion to Dismiss.

4          4.     On November 30, 2021, in reviewing the case file, I realized that Defendants

5    had not filed an answer to the complaint. This was due to a calendaring oversight. I

6    immediately began drafting an answer to the 72-page complaint in this case and preparing

7    the Stipulated Request to Enlarge Defendants’ Time to File an Answer.

8          5.     If this Court does not grant the Stipulated Request to Enlarge Defendants’ Time

9    to File an Answer, then Defendants will be subject to default judgment.

10         6.     The parties have only made one prior request for modification of Defendants’

11   time to file a motion to dismiss and the corresponding briefing schedule for the motion to

12   dismiss. The Court granted the parties’ stipulated request on May 12, 2021. ECF No. 25.

13         7.     Granting the Stipulated Request to Enlarge Defendants’ Time to File an Answer

14   will have no impact on any of the existing deadlines in this case. The parties have been

15   actively engaging in discovery, including written discovery and document production, and the

16   fact discovery deadline is not until October 14, 2022. ECF No. 51.

17         I declare under penalty of perjury under the laws of the State of California that the

18   foregoing is true and correct and that this declaration was executed on December 10, 2021 in

19   San José, California.

20                                                          /s/ Yue-Han Chow
                                                            YUE-HAN CHOW
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                                               2
      DECL. OF YUE-HAN CHOW IN SUPPORT OF STIPULATED                                  21-cv-01705-PJH
      REQUEST TO ENLARGE DEFENDANTS’ TIME TO FILE AN                                         1880514
      ANSWER AND [PROPOSED] ORDER
